                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:11-00194
                                                )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                          )


                                             ORDER

       Pending before the Court is the Defendant’s Notice Of Filing Petition For A Fair Hearing

To Avoid An Unfair Hearing (Docket No. 1194). Through the Motion, the Defendant requests a

hearing to discuss his inability to access allegedly damaged discovery discs provided by the

Government. The Motion is GRANTED. Accordingly, the Court will hold a hearing on April

12, 2013, at 1:00 p.m.

       Prior to the hearing, standby counsel shall consult with counsel for the Government in an

effort to resolve Defendant’s discovery issues. Standby counsel shall notify the Court if a

hearing becomes unnecessary.

       It is so ORDERED.



                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00194        Document 1196        Filed 03/26/13      Page 1 of 1 PageID #: 5474
